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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

        IN RE:
        NEW CENTURY TRS HOLDINGS, INC.                              Case No. 07-10416-KJC
                Debtor                                              (Chapter 11)

        U.S. BANK N.A., AS TRUSTEE C/O                              Ref: Docket No._827__
        ROSICKI & ASSOCIATES
                 Movant

        THOMAS D.H. BARNETT, ESQUIRE
        BAR NUMBER 0994
        NEIL F. DIGNON, ESQUIRE
        BAR NUMBER 3625
                   Attorneys for the Movant
            v.
        NEW CENTURY TRS HOLDINGS, INC, et
        al.
                  Respondents

                      ORDER TERMINATING AUTOMATIC STAY

       UPON CONSIDERATION of the Motion for Relief from Automatic Stay (“Motion”)

filed by U.S Bank N.A., as Trustee. c/o Rosicki & Associates (“U.S. Bank”), and any response

thereto, and good cause having been shown, it is hereby

       ORDERED, that the Motion be, and the same is hereby GRANTED; and it is further

       ORDERED, that the Automatic Stay is terminated allowing U.S. Bank to exercise its

rights under applicable law against the Debtor’s Property more particularly described in the

Mortgage which has the address of 196 Fair Way Drive, Carmel, NY 10512.("Property"),

including, but not limited to foreclosure against the Property under the Mortgage.



Date:___________________                            BY THE COURT:

                                                    ____________________________
                                                    U.S. Bankruptcy Court Judge
